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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

JANE DOE

            Plaintiff,                                              No. 1:18-cv-236
v.

THE BOARD OF COUNTY COMMISSIONERS
FOR THE COUNTY OF OTERO; OTERO COUNTY
SHERIFF BENNY HOUSE;
OTERO COUNTY DETENTION CENTER
DIRECTOR CAROLYN BARELA;
ERIC SCOTT KINDLEY

            Defendants.
                                                                    Jury Trial Requested


     COMPLAINT FOR CIVIL RIGHTS VIOLATIONS AND TORTIOUS CONDUCT

       COMES NOW Plaintiff Jane Doe, by and through the undersigned counsel, Carolyn M.

“Cammie” Nichols and Maggie H. Lane of Rothstein Donatelli LLP, and hereby brings the

following causes of action under 42 U.S.C. § 1983, the Fourteenth Amendment of the United

States Constitution, the New Mexico Tort Claims Act (NMSA 1978, §§ 41-4-1, et seq.), and

New Mexico common law.

                                       INTRODUCTION

       This suit arises from transport officer Eric Scott Kindley’s extended abuse of Plaintiff

Jane Doe during her transport from Washington State to Otero County, New Mexico, on an

arrest warrant for a probation violation. With little to no oversight, Otero County sent Kindley

alone to retrieve Plaintiff Doe from Washington State, and allowed for Kindley to have

unrestricted access to, and control over, Doe, a petite 53-year-old woman, throughout the course

of the long trip back to New Mexico. Kindley began intimidating and threatening Plaintiff Doe

almost immediately, and told her repeatedly throughout the trip that if anything happened, no one
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would ever believe her. Somewhere within the expansive cornfields of the Midwest, where no

one would ever see or hear Plaintiff Doe, Kindley pulled over repeatedly to sexually assault

Plaintiff Doe. Despite Plaintiff Doe’s reporting of the abuse upon arrival in New Mexico,

Defendant Kindley continued to transport, and sexually abuse, women across the county.

                                           PARTIES

       1.      Plaintiff Jane Doe is on parole and living in Albuquerque, New Mexico. At the

time of the incidents described herein, March/April 2016, Plaintiff Doe was being transported to

Otero County on an arrest warrant for a probation violation. After Plaintiff’s probation was

revoked, she was committed to the custody of the New Mexico Department of Corrections. Prior

to her commitment to the Department of Corrections, Plaintiff Doe was housed at the Otero

County Detention Center in Alamogordo, New Mexico.

       2.      Defendant Board of County Commissioners for the County of Otero (“Otero

County”) is a duly authorized governmental agency under the laws of the State of New Mexico.

Defendant Otero County is a governmental entity and local public body as defined in the New

Mexico Tort Claims Act (NMSA 1978, § 41-4-3(B) and (C)). Under NMSA 1978, § 4-46-1, all

suits against a county are to be brought in the name of the board of county commissioners of that

county. As such, the county may sue or be sued in its name. Defendant Otero County is a

“person” for purposes of 42 U.S.C. § 1983. The Otero County Detention Center (“OCDC”)

located in Alamogordo, New Mexico, is a facility of Otero County. Defendant Otero County

also has the authority to own, maintain, and manage the OCDC and possesses final policy and

decision-making authority over OCDC.

       3.      Defendant Carolyn Barela, upon information and belief, was at all times material

hereto a resident of Otero County, New Mexico, and employed as the Director of OCDC. Upon



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information and belief, at all times material hereto, Defendant Barela was responsible for the

policies, practices, and customs of OCDC. Upon information and belief, Defendant Barela was

also responsible for the screening, hiring, training, retention, supervision, discipline, counseling,

and control of OCDC’s correctional officers, staff, contractors, and agents. Upon information

and belief, at all times material hereto, Defendant Barela was the final decision-maker, a policy-

maker for OCDC, and supervised its operation and management on a daily basis. Upon

information and belief, as the individual in charge of OCDC’s overall operation and daily

management, Defendant Barela was responsible for the implementation of, and adherence to,

OCDC’s policies, procedures, and customs. At all times material hereto, Defendant Barela was

acting under color of law and within the scope of her duties. In connection with Plaintiff’s

Section 1983 claims, Defendant Barela is sued in her official capacity.

       4.      At all times material hereto, Benny House was the Sheriff of Otero County. Upon

information and belief, at all times material hereto, Defendant House was responsible for the

policies, practices, and customs of the Otero County Sheriff’s Office. Upon information and

belief, Defendant House was also responsible for the screening, hiring, training, retention,

supervision, discipline, counseling, and control of the Sheriff’s Office’s staff, contractors, and

agents. Upon information and belief, at all times material hereto, Defendant House was the final

decision-maker, a policy-maker for the Sheriff’s Office, and supervised its operation and

management on a daily basis. Upon information and belief, as the individual in charge of the

Sheriff’s Office’s overall operation and daily management, Defendant House was responsible for

the implementation of, and adherence to, Sheriff’s Office policies, procedures, and customs. At

all times material hereto, Defendant House was acting under color of law and within the scope of




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his duties. In connection with Plaintiff’s Section 1983 claims, Defendant House is sued in his

official capacity.

        5.      At all times material hereto, Defendant Eric Scott Kindley transported individuals

arrested on warrants on behalf of OCDC. Upon information and belief, Defendant Kindley is a

resident of California, who is currently in the custody of the United States Marshal awaiting trial

on charges of aggravated sexual abuse. Defendant Kindley acted under color of law and within

the course and scope of his duties and employment. With regard to the Section 1983 claims,

Defendant Kindley is sued in his individual capacity only. For purposes of Plaintiff’s state law

claims, however, Defendant OCDC is vicariously liable for Defendant Kindley’s acts and

omissions.

        6.      With respect to Plaintiff’s New Mexico Tort Claims Act claims, the acts and

omissions complained of herein all constitute a basis for liability against Defendant Otero

County and its agents, and come within the scope of the waivers of immunity contained within

the New Mexico Tort Claims Act, NMSA 1978 §§ 41-4-1, et seq.

        7.      With respect to Plaintiff’s New Mexico Tort Claims Act claims, Defendant Otero

County received actual notice of Plaintiff’s intent to file claims under the New Mexico Tort

Claims Act. See 41-4-16(B).

                                 JURISDICTION AND VENUE

        8.      Jurisdiction over the federal claims is proper under 28 U.S.C. §§ 1331 and 1343.

Supplemental jurisdiction over the state claims is proper under 28 U.S.C. § 1367(a) because the

state claims and the federal claims derive from the same common nucleus of operative facts.

        9.      Venue is proper in New Mexico under 28 U.S.C. § 1391(b) as all defendants are

subject to the court’s personal jurisdiction.



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                                  FACTUAL ALLEGATIONS

               Plaintiff Doe’s transport from Washington State to New Mexico

       10.     In 2009, Plaintiff Doe moved from her home in Seattle, Washington, to

Alamogordo, New Mexico, in order to care for her ailing mother.

       11.     Ms. Doe’s mother passed away in 2011, and Ms. Doe remained in Alamogordo,

New Mexico.

       12.     In April of 2014, Ms. Doe was charged with violating NMSA 1978, §77-01A-

06(D), after her dog bit a neighbor.

       13.     Roughly a year later, in April of 2015, Ms. Doe pleaded no contest to this charge

and was sentenced to serve a period of probation.

       14.     In June of 2015, after an unsuccessful attempt to have her probation transferred to

Washington State, Ms. Doe absconded and returned to Washington State. A bench warrant was

subsequently entered for her arrest.

       15.     On March 11, 2016, Ms. Doe self-surrendered in Snohomish County Washington,

and was booked into the Snohomish County Correctional Facility.

       16.     Upon information and belief, Ms. Doe remained in the custody of Snohomish

County until March 26, 2016, when Defendant Eric Scott Kindley arrived to transport her back

to Otero County.

       17.     In March of 2016, Ms. Doe was 53 years old. Ms. Doe is 5 feet, 2 inches tall, and

weighs approximately 165 pounds.

       18.     At this time, upon information and belief, Defendant Eric Scott Kindley owned

Special Operations Group 6, a company that contracted with Otero County, either through the




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Otero County Sheriff’s Office or the Otero County Detention Center, to transport individuals,

like Ms. Doe, who were arrested on out-of-state warrants.

       19.     When Ms. Doe was released from Snohomish County, she was the only

transportee, male or female, in Defendant Kindley’s custody.

       20.     Additionally, Defendant Kindley worked alone, without the assistance of another

transport officer, male or female.

       21.     Ms. Doe observed that Defendant Kindley wore what appeared to be full tactical

gear, as though he was a SWAT officer prepared to engage in violent conflict.

       22.     When the two left Snohomish County in Defendant Kindley’s transport van,

headed back to New Mexico, he immediately began addressing Ms. Doe by using a common

short-form of her first name, as though there was a level of familiarity between the two.

       23.     Ms. Doe had never met Defendant Kindley before, however, and this made her

uncomfortable.

       24.     Defendant Kindley remarked to Ms. Doe that “we have a long trip ahead of us.”

       25.     Defendant Kindley also made it clear to Ms. Doe early on that he had information

about her personal life and family. He knew Ms. Doe had a daughter living in Washington, and

he knew that she had been divorced.

       26.     At some point early in the trip, Ms. Doe noticed the smell of chewing tobacco

within the van—a smell she dislikes—and made an offhand remark about the smell.

       27.     Defendant Kindley told Ms. Doe not to worry, because he would not kiss her with

tobacco in his mouth.

       28.     This comment scared Ms. Doe, who would be all alone in a van with Defendant

Kindley traveling through remote areas of the country.



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       29.     Defendant Kindley was very talkative throughout the trip, and spent a great deal

of time talking to people on the phone, often discussing very personal and inappropriate topics.

       30.     For example, during one such conversation, Ms. Doe overheard Defendant

Kindley tell this person that he could not stand women who have had abortions and that it made

him want to cut their uteruses out.

       31.     Defendant Kindley also bragged to her about things that had happened over his

years in the transport business.

       32.     For example, Defendant Kindley told Ms. Doe that once when he was

transporting two women from Mississippi to New Mexico he let them have sex in the back of the

van.

       33.     Defendant Kindley also told Ms. Doe that he had a webpage where he posted

videos documenting things that happened on the road during his transporting journeys, which he

called “rolling with the homies.”

       34.     Defendant Kindley acted proud of his videos, and recounted stories to Ms. Doe

concerning the things he had recorded.

       35.     For example, Defendant Kindley told Ms. Doe that one time he had a van full of

male transportees, only one of whom was African American. Defendant Kindley thought it

would be funny to put a piece of watermelon only in the African American transportee’s lunch,

so that he could record the African American transportee’s reaction for his webpage.

       36.     In telling Ms. Doe about these videos, Defendant Kindley told Ms. Doe that he

had not decided if he would record her yet.

       37.     Defendant Kindley also told Ms. Doe that if “anything happened” during her

transport, no one would believe her.



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       38.     Upon information and belief, Defendant Kindley stopped at a detention center in

Ada County, Idaho, to drop Ms. Doe off for the night.

       39.     When they arrived at the detention center, one of the local guards asked

Defendant Kindley where the female officer was, as though they would not expect for a male

officer to be transporting a female transportee alone.

       40.     The following day, March 27, 2016, Defendant Kindley apparently posted a

message on a “Group 6, LLC” Twitter account that he was “‘#rolling[w]iththehomies’” on to

Nebraska for corn husking. Or not.”

       41.     Defendant Kindley also appears to have recorded a video that same day, which he

posted on an Instagram account entitled “specialoperationsgroup” where, with the camera

pointed at him, he said:

       On today’s episode of rolling with the homies, we are leaving Boise for Nashville.
       Unfortunately, we will have to do a little bit of cornhusking in Nebraska. Even the geese
       are excited about it.

       42.     Defendant Kindley appears to be in his transport van during the recording, and

points the camera facing outside, at the view through the window of the vehicle, toward geese on

a lawn outside of a large building, possibly a detention center.

       43.     Defendant Kindley may have been using the phrase “cornhusking” as sexual

innuendo, as the term (as slang) is associated with various sexual acts.

       44.     After leaving Idaho, Defendant Kindley transported Ms. Doe through Nebraska,

where she was able to sleep off and on. At some point during the night, Ms. Doe woke up when

the van stopped. She noticed that the van was surrounded by cornfields.

       45.     When Plaintiff Doe asked Defendant Kindley why they had stopped, he replied

that she should not worry about it, and that “no one will ever believe you.”



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       46.     Defendant Kindley stopped three times in similar locations, in the middle of

nowhere, surrounded by cornfields.

       47.     During one stop, Ms. Doe noticed Defendant Kindley’s glove compartment was

open, and that there were syringes within the compartment.

       48.     While Ms. Doe was aware that Defendant Kindley had diabetes, based on

something he told her during the trip, she had not previously seen him inject insulin.

       49.     Ms. Doe is not able to recall exactly what happened to her during these stops,

however, she remembers feeling lethargic and nauseous before her lapses in memory.

       50.     She recalls, after the feelings of lethargy and nausea and the gaps in her memory,

that she would be aware that the van driven by Defendant Kindley was moving again, and her

arms hurt, and her handcuffs were inexplicably noticeably tighter than they had been before the

van stopped.

       51.     Ms. Doe also noticed that her pants felt damp or wet, and that she had vaginal

pain, as though she had been penetrated.

       52.     At some point that same night, Defendant Kindley stopped at another local

detention center, somewhere in Nebraska.

       53.     Before Defendant Kindley pulled Ms. Doe out of the back of the van he remarked

that “he hoped the girl we pick up in Chicago is more receptive than you.”

       54.     When Defendant Kindley walked Ms. Doe into the detention center, a female

officer seemed to notice that Ms. Doe was unsettled and nervous.

       55.     The female officer asked Ms. Doe if she wanted her to wash her clothes, possibly

because she noticed that they were wet, muddy, or otherwise visibly dirty.




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       56.     As Defendant Kindley was right behind her, and Ms. Doe was nervous that he

would get angry if she said yes, Ms. Doe declined.

       57.     The following day, Defendant Kindley traveled to Chicago, Illinois, in order to

pick up another female transportee.

       58.     Defendant Kindley and the transportee from Chicago engaged in sexually explicit

conversations for much of the trip.

       59.     Defendant Kindley even remarked at one point that she was the type of girl he

could take home to meet his parents.

       60.     Once, when Defendant Kindley stopped in Kentucky, Plaintiff Doe believes she

overheard the female transportee tell Defendant Kindley that they should meet up after she was

released from prison.

       61.     Defendant Kindley quickly responded to her in a panicked fashion that she needed

to “shut the fuck up” because they were being recorded.

       62.     Defendant Kindley picked up another male transportee in Kentucky, and then

another at a local detention center somewhere in Texas.

       63.     When they stopped at this facility, Ms. Doe was let out of the van to use the

restroom. A female officer working at the facility again asked Defendant Kindley why he did

not have a female officer with him in the van, given that he was transporting women. This

female officer asked for the name of his supervisor and the company he worked for.

       64.     Plaintiff noticed that none of the guards from the various detention centers they

stopped at along the way seemed to know who Defendant Kindley was, and seemed never to

have heard of his company.




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       65.     After picking up a second male transportee in Texas, Kindley arrived with Ms.

Doe in Otero County.

       66.     Defendant Kindley again repeated his threat to Ms. Doe that she should not tell

anyone about what had happened during her transport. He said that if she said anything he

would make sure she would never return home.

       67.     Shortly after arriving at the Otero County Detention Center, Ms. Doe began

placing requests through the center’s electronic “kiosk,” or inmate self-help system, to see a

counselor in order to disclose the abuse.

       68.     Ms. Doe disclosed the abuse to a counselor while at the detention center.

       69.     Ms. Doe also informed a supervising guard that she needed to disclose an incident

occurring during transport of a sensitive nature.

       70.     Rather than attempting to gather more information from Ms. Doe, the supervising

guard apparently told Ms. Doe to contact her lawyer.

       71.     Ms. Doe also disclosed the abuse after she was committed to the custody of the

New Mexico Department of Corrections

       72.     Ms. Doe has received no information concerning the status of any investigation

on the part of OCDC, or the New Mexico Department of Corrections concerning the status of an

investigation, and is unsure of whether any investigation was ever done into Defendant Kindley’s

actions, or whether any discipline was subsequently imposed.

       73.     As Defendant Kindley continued to provide transportation services to local

counties following Ms. Doe’s reporting of the abuse (including at least one county in New

Mexico, as discussed below), and continued to abuse female transportees, however, Ms. Doe

does not believe any investigation or discipline occurred.



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                Defendant Eric Scott Kindley and Special Operations Group 6

       74.      Upon information and belief, Eric Scott Kindley owns or owned Group 6, LLC,

which was, at least in part, a prisoner transportation service.

       75.      Upon information and belief, Defendant Kindley provides such prisoner

transportation services to counties under the name “Special Operations Group 6.”

       76.      Upon information and belief, Defendant Kindley also sells or sold law

enforcement clothing to jails under the name “G6tactical,” which is believed to be another arm of

Group 6, LLC.

       77.      Prior to owning Group 6, LLC or Special Operations Group 6, Defendant Kindley

owned another prisoner transport company called “Court Services Inc.”

       78.      Upon information and belief, Court Services Inc., a California company, was

suspended after failing to meet tax requirements.

       79.      In 2008, Defendant Kindley was charged federally for ordering an employee of

Court Services Inc. to carry a gun onto a plane without any authorization to do so.

       80.      Defendant Kindley was ultimately acquitted by a jury in that case.

       81.      In 2010, an employee of Court Services Inc., who was a convicted felon, pleaded

guilty to sexually assaulting a female prisoner during transport.

       82.      In that case, Defendant Kindley’s employee was transporting a woman from

Tennessee to New Mexico, under contract with Lincoln County.

       83.      Upon information and belief, Defendant Kindley had a reputation in New Mexico

as being abusive towards his transportees.

       84.      Plaintiff Doe eventually decided to disclose the sexual abuse to her partner, who

(unbeknownst to her at the time) had at one point also been transported by Defendant Kindley.



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           85.   When she disclosed, before referencing the identity of the transport officer,

Plaintiff Doe’s partner asked her if the transport officer was Defendant Kindley.

           86.   Otero County maintained a contract with Defendant Kindley for prisoner transport

services in spite of this history of gross mismanagement of his prisoner transportation

companies, including but not limited to the hiring of a convicted felon as a transport officer, and

the sexual abuse of another woman who absconded from New Mexico by this same transport

officer.

           87.   Otero County also maintained a contract with Defendant Kindley when it may

have had actual prior knowledge of his abuse of transportees.

           88.   In 2017, Defendant Kindley was indicted in multiple jurisdictions on charges of

aggravated sexual abuse in violation of 18 U.S.C. § 242, in connection with his transporting of

various women across the country on arrest warrants. See United States v. Kindley, 3:17-cr-

08147-DLR (D. Arizona June 28, 2017); United States v. Kindley, 4:17-cr-00267-DPM (E.D.

Arkansas Sept. 12, 2017).

           89.   As part of these cases, multiple women have disclosed that Defendant Kindley

criminally penetrated them during their transport.

           90.   Similar to Ms. Doe’s victimization, multiple women have disclosed that

Defendant Kindley abused them in remote locations, threatening them to keep them quiet.

           91.   Defendant Kindley bragged to these women that he had gotten away with this

before, and that if they told anyone, it would be their word against his.

           92.   Defendant Kindly bragged to at least one of his victims about the number of

women he had transported whom he sexually assaulted and raped, telling her that “all I do is go

around and fuck bad bitches.”



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       93.      Defendant Kindley is currently detained and awaiting trial in connection with the

above-mentioned criminal cases.

                                             COUNT I

                     42 U.S.C. § 1983 – Claims against Defendant Kindley

       94.      Plaintiff incorporates all preceding paragraphs as if fully stated herein.

       95.      In transporting individuals arrested on outstanding Otero County warrants back to

Otero County, Defendant Kindley was operating as a state actor on behalf of Otero County, and

performing an exclusive government function.

       96.      Plaintiff Doe has a right to bodily integrity, to be free from unreasonable seizures,

and to be free from unreasonable invasions of her right to privacy under the Fourth Amendment

to the United States Constitution and the Fourteenth Amendment to the United States

Constitution. To the extent that Plaintiff Doe, who was serving a probationary sentence at the

time of the incidents in question, was a convicted prisoner, she is also protected under the

guarantees of the Eighth Amendment to the United States Constitution and the prohibition

against cruel and unusual punishment.

       97.      Defendant Kindley violated Plaintiff Doe’s rights when he threatened to hurt her,

threatened to sexually assault her, in fact sexually assaulted her, unreasonably seized her, and

invaded her right to privacy.

       98.      Defendant Kindley acted with deliberate indifference to these rights, and he

carried out, in a constitutionally impermissible manner, the functions he performed on behalf of

Otero County.

       99.      The deprivations of Plaintiff Doe’s rights were not reasonably related to any

legitimate interest in security or in the safe transportation of Plaintiff Doe to Otero County.



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       100.     Defendant Kindley engaged in acts and omissions that were egregious,

outrageous, fraught with unreasonable risk, and conscious shocking.

       101.     The conduct of Defendant Kindley, as alleged herein, were a direct and proximate

cause of Plaintiff Doe’s injuries and damages.

       102.     Defendant Kindley’s conduct involved intentional misconduct, recklessness,

willfulness, and callous indifference to Plaintiff Doe’s rights. As his conduct was motivated by

evil motive or intent, Plaintiff Doe is entitled to recover awards of punitive and exemplary

damages against Defendant Kindley in amounts to be determined at trial.

       103.     Defendant Kindley is not entitled to qualified immunity for Section 1983 claims.

       104.     The constitutional rights Defendant Kindley violated were clearly established

prior to March 2016, and any reasonable individual in his shoes would have understood that this

conduct would violate Plaintiff Doe’s constitutional rights.

                                             COUNT II

              42 U.S.C. § 1983 – Claims against Sheriff House and Director Barela

       105.     Plaintiff incorporates all preceding paragraphs as if fully stated herein.

       106.     Defendants Benny House and Carolyn Barela, as the Sheriff of Otero County and

the Director of the Otero County Detention Center, respectively, (collectively “Defendants”) had

the duty to exercise due care in Otero County’s transportation of individuals arrested on

warrants.

       107.     In addition, Defendants had a duty to properly screen, hire, train, monitor,

supervise and discipline subordinate employees and agents engaging in such activities on behalf

of the County, activities that are a unique function traditionally and exclusively reserved to local

and state government.



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       108.     Defendants had a further duty to ensure that subordinate employees and agents

were aware and guided by appropriate policies and procedures so as to respect the constitutional

rights of individuals and avoid causing unnecessary harm to individuals, including Plaintiff Doe.

As part of these responsibilities, Defendants had a duty to:

       a. Conduct reasonable and adequate hiring processes, including appropriate background
       investigations, to determine whether prospective transport officers were appropriately
       qualified and had the appropriate temperament and psychological status to act in this
       capacity;

       b. Assure that transport officers received appropriate and adequate training, including at a
       minimum the amounts required by law, prior to performing such duties;

       c. Prepare, adopt, and inculcate appropriate policies, procedures and protocols regarding
       the transportation of individuals arrested on warrants back to Otero County;

       d. Monitor transport officers, including Defendant Kindley, in order to assure that they
       were complying with applicable policies, procedures and protocols; and

       e. Conduct meaningful and proper investigations and impose discipline where appropriate
       against such officers in order to encourage compliance with policies and to avoid
       ratification of misconduct and deprivation of constitutional rights.

       109.    Prior to March 2016, Defendants knew or reasonably should have known that

male transport officers were transporting female transportees alone across the country. The risk

that female prisoners will be subject to invasions of privacy, sexual assault, or otherwise be

deprived of their right to bodily integrity was obvious, given the intimate nature of monitoring

required and the extreme power imbalances at hand.

       110.    Prior to March 2016, Defendants knew or reasonably should have known of

Defendant Kindley’s gross mismanagement of his transport companies, the past criminal

allegations against Kindley himself, and the past criminal conduct of his employees.

       111.    Prior to March 2016, Defendants knew or reasonably should have known that

their transport officers, including Defendant Kindley, were acting improperly and without



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sufficient oversight, and that, due to this lack of supervision, training, and proper hiring,

individuals such as Plaintiff Doe would have their rights violated by such transport officers.

       112.      Prior to March 2016, Defendants knew or reasonably should have known that

certain transport officers, including Defendant Kindley, should never have been hired, lacked

adequate training and certification, and were operating without knowledge of or in flagrant

disregard of applicable policies, procedures, and protocols in connection with the transportation

of individuals arrested on warrants.

       113.      Defendants apparently failed to conduct an appropriate investigation into the

incident in question after it was disclosed to them, and apparently failed to take disciplinary

action against Defendant Kindley, failed to terminate his work with Otero County, and failed to

engage in efforts to alert other jurisdictions concerning his violent, criminal actions, as

Defendant Kindley continued to transport individuals like Plaintiff Doe around the country

following this incident. By doing so, Defendants encouraged and condoned a post-incident

cover up and ratified the wrongful, criminal acts of Defendant Kindley.

       114.      Defendants breached the foregoing duties by failing to adopt proper policies,

procedures, and protocols, by failing to implement appropriate training, by failing to adequately

investigate and discipline Defendant Kindley, and by failing to take other appropriate actions

which would have prevented the deprivation of the clearly established constitutional rights of

Plaintiff Doe.

       115.      Defendants’ actions, or failures to act, described above, constituted personal

involvement by them in the violation of Plaintiff Doe’s constitutional rights and were a cause of

the injuries and damages described herein. In so doing, Defendants acted knowingly or with

deliberate indifference to the possibility that a constitutional violation would occur.



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       116.    Defendants’ acts and omissions, as described herein, were the direct and

proximate cause of Plaintiff Doe’s injuries and related damages, as set forth herein.

                                           COUNT III

                      NMSA 1978, § 41-4-6 New Mexico Tort Claims Act

       117.    Plaintiff incorporates the preceding paragraphs as if fully stated herein.

       118.    Defendant Otero County and its employees, officials, contractors, and agents, had

the duty to operate the Otero County Detention Center and the Otero County Sheriff’s Office in a

manner that kept individuals, including Plaintiff Doe, safe and free from injury.

       119.    Otero County employees, officials, contractors, and agents, including but not

limited to Director Barela and Sheriff House, were negligent in their operation of the Otero

County Detention Center and Sheriff’s Office, in that they failed to take necessary steps to

provide for the safety and welfare of Plaintiff Doe and other individuals during their transport to

Otero County on arrest warrants.

       120.    The transport of individuals back to Otero County on arrest warrants is not an

administrative function performed on behalf of the Detention Center and Sheriff’s Office.

Rather, transportation officers perform an essential function of these buildings—to retrieve and

transport individuals that Otero County had jurisdiction over and who were arrested on warrants.

       121.    Defendant Kindley, who, upon information and belief, regularly transported

individuals back to Otero County, posed a risk to the entire class of individuals arrested on Otero

County warrants who were transported by him back to Otero County.

       122.    Defendant Otero County’s complete failure to exercise reasonable care in its

regulation of these transportation services presented a general condition of unreasonable risk.




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       123.    In performing this essential function, the employees, officials, contractors, and

agents of Otero County Detention Center and Otero County Sheriff’s Office negligently

permitted untrained and insufficiently screened male transportation officers, including Defendant

Kindley, to, with little to no oversight, transport female officers across the county alone. This

foreseeably led to the abuse of vulnerable female transportees, including Plaintiff Doe.

       124.    In the case of Defendant Kindley, the employees, officials, contractors, and agents

of Otero County Detention Center and Otero County Sheriff’s Office knew or should have

known that Defendant Kindley was unfit to perform this service on behalf of the County.

       125.    Furthermore, Defendant Kindley, who was performing an exclusive government

function as a state actor, capitalized on the extreme power given to him over a very vulnerable

class of individuals—individuals under arrest being transported across the country. Defendant

Kindley was thus aided in his abuse by his status as a transport officer performing services on

behalf of the County, and the County is vicariously liable for these damages.

       126.    Defendant Otero County is jointly and severally liable for all injuries and

damages caused by the actions of its employees, officials, contractors, and agents, under the

doctrines of vicarious liability and respondeat superior.

       127.    The above-described conduct of Defendant Otero County and its employees,

officials, contractors, and agents, was a direct and proximate cause of the injuries to Plaintiff Doe

and the resultant damages described herein.

                                            COUNT IV

                     NMSA 1978, § 41-4-12 New Mexico Tort Claims Act

       128.    Plaintiff incorporates all preceding paragraphs as if fully stated herein.




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       129.    Defendants Sheriff Benny House and Director Carolyn Barela (collectively

“Defendants”), as law enforcement officers, had the duty in any activity undertaken by them to

exercise, for the safety of others, a level of care that would be ordinarily exercised by a

reasonable, prudent, and qualified law enforcement officer in light of the nature of the

circumstances at the time. Defendants breached this duty when they failed to in any way

monitor or regulate the transportation activities of its transport officers, including Defendant

Kindley, or to in any way supervise or train these officers.

       130.    This failure caused the assault, battery, false imprisonment, and deprivation of

rights, privileges and immunities secured by the laws and constitutions of the United States and

New Mexico Plaintiff Doe endured at the hands of Defendant Kindley.

       131.    Defendant Kindley, as a law enforcement officer performing an exclusive

government function as a state actor, also had the duty in any activity undertaken by him to

exercise, for the safety of others, a level of care that would be ordinarily exercised by a

reasonable, prudent, and qualified law enforcement officer in light of the nature of the

circumstances at the time.

       132.    Defendant Kindley breached this duty when he assaulted, battered, and falsely

imprisoned Plaintiff Doe, and deprived her of rights, privileges and immunities secured by the

laws and constitutions of the United States and New Mexico, causing personal and bodily injury

to Plaintiff Doe.

       133.    Further, as Defendant Kindley was serving an exclusive government function as a

state actor, and capitalized on the extreme power given to him over a very vulnerable class of

individuals—individuals under arrest being transported across the country, he was aided in




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accomplishing his assaults and sexual abuse by his status as a transport officer performing

services on behalf of the state, and the County is vicariously liable for these damages.

       134.    Defendant Otero County is jointly and severally liable for all injuries and

damages caused by the actions of its employees, officials, contractors, and agents, under the

doctrines of vicarious liability and respondeat superior.

       135.    The above-described conduct of Defendants was a direct and proximate cause of

the injuries to Plaintiff Doe and the resultant damages described herein.

                                     PRAYER FOR RELIEF

       136.    Plaintiff incorporates all of the preceding paragraphs as if fully stated herein.

       137.    As a direct and proximate result of the wrongful and unlawful acts and omissions

of all Defendants, as described above, Plaintiff was injured, suffered, and continues to suffer

damages, including, but not limited to, severe emotional distress, anguish, suffering, humiliation,

depression, psychological injuries, indignities, loss of enjoyment of life, deprivation of

constitutional rights, invasion of bodily integrity, and other damages.

       138.    As a result of the above-described damages and injuries, Plaintiff Doe is entitled

to recover awards of full compensatory damages against all Defendants in amounts to be

determined at the trial of this cause.

       139.    Plaintiff Doe requests damages in an amount sufficient to compensate her for all

injuries and harm she suffered, as well as punitive damages as provided by law, along with costs

of this action, pre- and post-judgment interest as provided by law, reasonable attorneys’ fees as

provided by law, and such other and further relief as proves just.

       140.    Plaintiff Doe requests a trial by jury on all issues so triable.

                                         Respectfully submitted,



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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
JANE DOE,                                                                                                   THE BOARD OF COUNTY COMMISSIONERS FOR THE COUNTY
                                                                                                            OF OTERO, ET AL.
    (b) County of Residence of First Listed Plaintiff             BERNALILLO                                 County of Residence of First Listed Defendant OTERO
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Carolyn M. "Cammie" Nichols and Maggie H. Lane
500 4th Street NW, Ste. 400, Albuquerque, NM 87102
(505) 243-1443

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           42 U.S.C. Section 1983; New Mexico Tort Claims Act - NMSA 1978, Sec. 41-4 et al.
VI. CAUSE OF ACTION Brief description of cause:
                                           Civil rights violations for sexual abuse & negligence claims under New Mexico Tort Claims Act
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
03/09/2018                                                              /s/ Carolyn M. "Cammie" Nichols
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
JS 44 Reverse (Rev. 06/17)   Case 1:18-cv-00236-JHR-LF Document 1 Filed 03/09/18 Page 24 of 24
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
